 Case 2:19-mj-30227-DUTY ECF No. 36 filed 11/04/19         PageID.117    Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

United States of America,

        Plaintiff,
                                                    Criminal No. 19-mj-30227
v.

Fendley Joseph,

        Defendant.



     STIPULATION FOR ADJOURNMENT OF PRELIMINARY HEARING
          AND FOR EXTENSION OF TIME IN WHICH TO INDICT



       The United States of America and defendant, Fendley Joseph, hereby stipulate

and agree to the following:

       1.   On May 16, 2019, he made his initial appearance on the Complaint.

       2.   The parties are engaged in pre-indictment plea negotiations and the

parties desire to continue plea negotiations through at least January 31, 2020. The

parties agree that this constitutes good cause for an adjournment of the preliminary

hearing, taking into account the public interest in the prompt disposition of criminal

cases. See Fed. R. Crim. P. 5.1(d)

       WHEREFORE, the parties request this Court to (1) adjourn the preliminary

hearing from November 8, 2019 through January 31, 2020, and (2) make findings

concerning excludable delay in accordance with this stipulation.
 Case 2:19-mj-30227-DUTY ECF No. 36 filed 11/04/19   PageID.118   Page 2 of 4




MATTHEW SCHNEIDER
Acting United States Attorney


/s/ Timothy Wyse                         s/ Mark A. Gatesman with consent
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Dated: November 4, 2019




                                     2
 Case 2:19-mj-30227-DUTY ECF No. 36 filed 11/04/19            PageID.119   Page 3 of 4




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

United States of America,

         Plaintiff,
                                                      Criminal No. 19-mj-30227
v.

Fendley Joseph,

         Defendant.



     ORDER ADJOURNING PRELIMINARY HEARING AND EXTENDING
                   TIME IN WHICH TO INDICT



      This matter coming before the Court on the stipulation of the government and

defendant Fendley Joseph, for the reasons stated in the stipulation, the Court

      (1) finds that the parties have been engaged in and will continue to be engaged

in pre-indictment plea negotiations from November 8, 2019 through January 31,

2020;

      (2) finds that this constitutes good cause for the adjournment of the

preliminary hearing, taking into account the public interest in the prompt

disposition of criminal cases, see Fed. R. Crim. P. 5.1(d);

      (3) adjourns the preliminary hearing in this case from November 8, 2019

through January 31, 2020;
 Case 2:19-mj-30227-DUTY ECF No. 36 filed 11/04/19      PageID.120    Page 4 of 4




   (4) And that the period from November 8, 2019 through January 31, 2020,

should be excluded in calculating the time within which an indictment or

information must be filed under the Speedy Trial Act, 18 U.S.C. § 3161(b).


                                            s/Elizabeth A. Stafford
                                            Elizabeth A. Stafford
Date: November 4, 2019                      United States Magistrate Judge




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